               Case 5:17-cr-00965-OLG Document 65 *SEALED*                             Filed 07/02/18 Page 1 of 11 FILED
                                              UNITED STATES DISTRICT COURT                                           JUL 0 2       2018
                                                          WESTERN DISTRICT OF TEXAS
                                                            SAN ANTONIO DIVISION                                   K, U.S. DISTRICT COURT
                                                                                                                   ERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA                                                                                                     DE(ERK
                                                                                  Case Number: 5:17-CR-O965-OLG(2)
V
                                                                                  USM Number: 977 1O-3O
JESSICA LYNN MCKOWN,
Alias(es): Jessica           Lynn McKown, Jessica McKown,


                Defendant.

                                                 JUDGMENT IN A CRIMINAL CASE
                                          (For Offenses Committed On or After November 1, 1987)

                The defendant, JESSICA LYNN MCKOWN, was represented by Brian Call Kimbrough, Esq.

                On motion of the United States, the Court dismissed the remaining count(s) as to this defendant.

        The defendant pled guilty to Count(s) Five (5) and Seven (7) of the Indictment on March 14, 2O8. Accordingly, the
defendant is adjudged guilty of such Count(s), involving the following offense(s):


              Title & Section                           Nature of Offense                   Offense Ended                   Count

          8   USC   §   1029(a)(2)                     Access Device Fraud                November 30, 2017                 Five (5)

      8       USC       028A(a)(l)                   Aggravated Identity Theft              October 9, 2017               Seven (7)



           As pronounced on June 27, 2018, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The sentence
is   imposed pursuant to the Sentencing Reform Act of 1984.

          It is further ordered that the defendant shall notify the United States Attorney for this district witiin 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

               Signed this 2    day of July, 2018.




                                                                                           ORLANDO L. GARCIA
                                                                                       Chief United States District Judge
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    DEFENDANT:                       JESSICA    LYNN MCKOWN
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                                                                     IMPRISONMENT
              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
    twenty-Jive (25) months. The total term consists of one (l) month as to Count Five (5,) and twenty four      months as to Count Seven
    (7) to run consecutive with credit for time served while in custody for this federal offense pursuant to 18U.S.C. 3585(b).
                                                                                                                            §

             The Court makes the following recommendations to the Bureau               of Prisons:
             That   if eligible,   the defendant participates in the 500 - Hour Intensive Drug Abuse Education Program.

             The defendant shall remain in custody pending service            of sentence.




                                                                        RETURN
1    have executed this judgment as follows:




            Defendant delivered on                                            to

at                                               with   a   certified copy of this judgment.



                                                                                                     UNITED STATES PIARSHAL




                                                                                                              By
                                                                                                 DEPUTY UNITED STA   S   MARSHAL
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                                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release a term of two (2) years as to Count Five (5)
and one year as to Couni Seven (7) to run concurrent.

         While on supervised release the defendant shall comply with the mandatory and standard conditions that have been adopted
by this Court, and shall comply with the following additional conditions:

         I.      The defendant shall provide the probation officer with access to any requested financial information and authorize
                 the release of any financial information. The probation office may share financial infornation with the U.S.
                 Attorney's Office.

        2.       The defendant shall not possess or use an access device, or the personal identifying information, belonging to
                 another person.

        3.       The defendant shall not have contact with Raul Edward Sanchez, Vidyut Luther, Jarod leffries or Blake Begia.

        4.       The defendant shall not be employed at any job involving the handling of United States mail.

        5.       The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as defined in
                  18 U S.C. § 1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search
                 conducted by a United States probation officer. Failure to submit to a search may be grøunds for revocation of
                 release. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
                 condition. The probation officer may conduct a search under this condition only when easonable suspicion exists
                 that the defendant has violated a condition of supervision and that the areas to be searched contain evidence of this
                 violation. Any search shall be conducted at a reasonable time and in a reasonable mannr.

        6.       The defendant shall participate in a substance abuse treatment program and follow the flules and regulations of that
                 program. Tile program may include testing and examination during and after program dompletion to determine if the
                 defendant has reverted to the use of drugs. The probation officer shall supervise the participation in the program
                 (provider, location, modality, duration, intensity, etc.). During treatment, the defendant shall abstain from the use of
                 alcohol and any and all intoxicants. The defendant shall pay the costs of such treatment if financially able.

        7.       The defendant shall participate in a mental health treatment program and follow the rules and regulations of that
                 program. The probation officer, in consultation with the treatment provider, shall supervise participation in the
                 program (provider, location, modality, duration, intensity, etc.). The defendant shall pay the costs of such treatment
                 if financially able.

        8.       The defendant shall take all mental health medications that are prescribed by the treating physician.
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                                                     CONDITIONS OF SUPERVISION
 Mandatory Conditions:

      1) The defendant shall not         commit another federal, state, or local crime during the term of supervision.

     2) 'The defendant shall not unlawfully possess a controlled substance.

     3) The defendant shall refrain from any unlawful use of a controlled substance. The defendant shafl submit to one drug test
         within 15 days of release on probation or supervised release and at least two periodic drug teststhereafter (as determined by.
        the court), but the condition stated in this paragraph may be ameliorated or suspended by the cdurt if the defendant's
        presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

     4) The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if:.the collection of such a
         sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. 14135a).
                                                                                                                          §

     5) If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34
         U.S.C. § 20901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any stte sex offender registration
         agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

     6) lfconvicted ofa domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shalTparticipate in an approved
         program for doniestic violence.

     7)   Ifthejudgment imposes restitution, the defendant shall pay the ordered restitution in accordance with          18 U.S.C. §   2248,
            2259, 2264, 2327, 3663, 3663A, and 3664.

     8) The defendant shall pay the assessment imposed in accordance with 18 U.S.C. 3013.
                                                                                   §

     9) If the judgment imposes a fine, it is a condition of supervision that the defendant pays in accorth4nce with the Schedule of
         Payments sheet of the judgment.

     10) The defendant shall notify the court     of any material change in the defendant's economic circumstances that might affect the
            delendant's ability to pay restitution, fines or special assessments.


Standard Conditions:

     1)   '[he defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within
          seventy-two (72) hours of release from imprisonment, unless the probation officer instructs the defendant to report to a
          different probation office or within a different time frame.

    2) After initially report to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

    3) The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
          getting permission from the court or the probation officer.

    4) The defendant shall answer truthfully the questions asked by the probation officer.

    5) The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
       or anything about his or her living arrangements (such as the people the defendant lives with), thd defendant shall notify the
       probation officer at least ten (10) days before the change. If notifying the probation officer in advance is not possible due to
          unanticipated circumstances, the defendant shall notify the probation officer within seventy-two (72) hours of becoming
          aware of a change or expected change.
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      6) The defendant shall allow the probation officer to visit the defendant at any time at his or her hqme or elsewhere, and the
         defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant's supervision that
            are observed in plain view..

      7) The defendant shall work full time (at least 30 hours per week) at a lawful type     of employment, unless the probation officer
           excuses the defendant from doing so. If the defendant does not have full-time employment, he r she shall try to find full-
           time employment, unless the probation officer excuses the defendant from doing so. lfthe defe(dant plans to change where
           the defendant works or anything about his or her work (such as the position or job responsibi1itis), the defendant shall notify
           the probation officer at least ten (10) days before the change. If notifying the probation officer t least ten (10) days in
           advance is not possible due to unanticipated circumstances, the defendant shall notify the probation officer within seventy-
           two (72) hours of becoming aware of a change or expected change.

     8) The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
        defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
        that person without first getting the permission of the probation officer.

     9)    Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
           seventy-two (72) hours.

     10) The defendant shall not own, possess, or have access to a firearm, ammunition, destructive devi4e, or dangerous weapon (i.e.,
           anything that was designed, or was modified, for the specific purpose of causing bodily injury o death to another person such
           as nunchakus or tasers).

     II) The defendant shall not act or make any agreement with a law enforcement agency to act as a canfidential human source or
         informant without first getting the permission of the court.

     12)11 the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
           officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction.
           The probation officer may contact the person and confirm that the defendant has notified the per$on about the risk.

     l3)The defendant shall follow the instructions of the probation officer related to the conditions ofspervision.

     14) If the  judgment imposes other criminal monetary penalties, it is a condition of supervision that tFe defendant pays such
           penalties in accordance with the Schedule of Payments sheet of the judgment.

     IS) If  the judgment imposes a tine, special assessment, restitution, or other criminal monetary penalUes, it is a condition of
           supervision that the defendant shall provide the probation officer access to any requested financial information.

     16)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
           supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
           the probation officer, unless the defendant is in compliance with the payment schedule.

     17)   If the defendant is excluded, deported, or removed upon release on probation or supervised releae,
                                                                                                                 the term of supervision
           shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States.
           If the defendant is released from confinement or not deported, or lawfully re-enters the
                                                                                                    United Stites during the term of
           probation or supervised release, the defendant shall immediately report to the nearest U.S. Proba4ion Officer.
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                                                     CRIMINAL MONETARY PENALTIES/SCHEDULE
                The defendant shall pay the following total criminal monetary penalties in accordance with the chedu1e of payments set
       forth. Unless the Court has expressly ordered otherwise, ifthis judgment imposes imprisonment, paymett of criminal monetary
       penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those payments.made through Federal Bureau
       of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States
                                                                                                          District Court, 655 E. Cesar E.
       Chavez Blvd, Room G65, San Antonio, TX 78206. The defendant shall receive credit for all payments previously made toward any
       criminal monetary penalties imposed.

                                                                                  Assessment                                                      Fine                                      Restitution
     LIPTALS                                                                            $200.00                                                   $.00                     .
                                                                                                                                                                                              $8,365.09


                                                                                  SPECIAL ASSESSMENT
               It is ordered that the detndant shall pay to the United States a special assessment of $200.00 which
                                                                                                                    consists of $100.00 per count.
       Pament of this sum shall begin immediately:


                                                                                                 FINE

                     The fine is waived because of the defendant's inability to pay.


                                                                RESTITUTION - JOINTLY AND SEVERALLY
                The defendant shall pay restitution in the amount of $8,365.09 through the Clerk, U.S. District Court,for distribution to
                                                                                                                                          the payee(s).
      Payment of this sum shall begin immediately. Defendant Jessica McKown will owe the victim(s) jointly and se*rally with
                                                                                                                                  co-defendant(s) Raul
      Edward Sanchez. No further payment shall be required after the sum of the amounts actually paid by the
                                                                                                                  defendant(s)/participant(s) has fully
      covered all compensable injuries.

               The Court directs the United States Probation Office to provide personal identifier information of victims by
                                                                                                                             submitting a
      "reference list" under seal Pursuant to E-Government Act of 2002" to the District Clerk within ten (10) days after the criminal
      Judgment has been entered.

      Name of Payee                                                                                                                    Amount ofestitution
          Capital One                                                                                                                                  $29298
          Randolph Brooks Federal Credit Union                                                                                                       $1,237.94
          Wells 'argo Batik NA                                                                                            .                            $83583
          American Express                                                                                                                          $1,642.40
          Mate) s Inc.
                                                                                                                                                    $2,149.22

          Citibank                                                                                                                                  $2,206r72

                    TOTAL                                                                                                                           $8,36509

           If the defendant makes a partial payment, each payee shall receive art
                                                                                  approximately proportioned payment, unless specified other(wise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States ispaid.

            If   the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed, See              18 U..C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full beftre
                                                                                                                                                     the fifteenth day after the date of the
judgment, pursuant to 18 u.s.c §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
                                                                                                                                                  3612(g).

              Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,         fine principal,         community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                                                                                                                                       (4)                     ( )


            Findings forthe total amount of losses are required under Chapters        109A, 110, 11OA,   and 113A of Title    18   foroffenses committed nor after September 13,              1994,
but before April 23, 1996.
